                 Case 6:22-bk-01719-LVV             Doc 11       Filed 06/01/22   Page 1 of 2

[Dodsmdef] [Dismissing for Deficiencies]




                                           ORDERED.
Dated: June 1, 2022




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                  Case No.
                                                                        6:22−bk−01719−LVV
                                                                        Chapter 13

Marie Edna Pluviose




________Debtor*________/

                                           ORDER DISMISSING CASE

   THIS CASE came on for consideration upon the Court's own motion. The Debtor has failed to file or
correct deficiencies in the item(s) indicated below by May 31, 2022 . The Court advised the Debtor of these
requirements in either a Notice of Deficient Filing or by separate notice or order of the Court.

         Failure to file a Chapter 13 Plan.

         Failure to file a master mailing matrix as required by Local Rule 1007−2(a)(1).

         Failure to file any or all Schedules A−J as required.

         Failure to file a properly signed Declaration Concerning Schedules.

         Failure to file a Summary of Assets.

         Failure to file a Statement of Your Monthly Income.

         Failure to file Statement of Financial Affairs.

   Accordingly, it is ORDERED:

1. The case is dismissed without prejudice and without a discharge effective on the 15th day from entry of this
Order.
                 Case 6:22-bk-01719-LVV             Doc 11       Filed 06/01/22     Page 2 of 2


2. If the automatic stay imposed by 11 U.S.C. § 362(a) or § 1301 is in effect at the time this Order is entered,
the stay is extended 14 days from the date of this Order, notwithstanding the provisions of 11 U.S.C. §
362(c)(2)(B).

3. If Debtor files a motion to vacate or for reconsideration of the Order Dismissing Case within 14 days of the
date of this Order, the automatic stay imposed by 11 U.S.C. § 362 and the stay of action against codebtor
under 11 U.S.C. § 1301 shall remain in full force and effect until the Court rules on the motion.

4. All pending hearings are canceled with the exception of any currently scheduled hearing on a motion for
relief from stay or on an Order to Show Cause over which the Court reserves jurisdiction.

5. The Debtor, the Trustee, or any party in interest, may, within 14 days from the date of this Order, request
the Court to examine the fees paid to Debtor's attorney and request disgorgement of any portion deemed
excessive. The Court shall retain jurisdiction for this purpose.

6. The Court reserves jurisdiction to determine timely filed applications for administrative expenses. .



Clerk's Office is directed to serve a copy of this order on interested parties.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
